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                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


 STATE OF UTAH, et al.,

        Plaintiffs,                            Case No. 2:24-cv-00172-TS-DAO

 v.
                                               NOTICE OF DEFENDANT-
 DEB HAALAND, et al.,                          INTERVENOR’S MOTION TO
                                               TRANSFER CASE AND
        Defendants,                            MEMORANDUM IN SUPPORT

 and
                                               District Judge Ted Stewart
 SOUTHERN UTAH WILDERNESS                      Magistrate Judge Daphne A. Oberg
 ALLIANCE,

        Defendant-Intervenor.


       Pursuant to Fed. R. Civ. P. 42(a)(3) and DUCivR 83-2(g), Defendant-Intervenor Southern

Utah Wilderness Alliance (“SUWA”), respectfully provides this Court notice that SUWA filed a

Motion to Transfer Case and Memorandum in Support with Judge Kimball. SUWA filed the
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Motion because Plaintiffs’ complaint in the instant case is related to prior travel management

plan cases overseen by Judge Kimball. See DUCivR 83-2(g); S. Utah Wilderness All. v. Dep’t of

the Interior, 2:12-cv-257-DAK; S. Utah Wilderness All. v. Bureau of Land Mgmt., 2:21-cv-0091-

DAK. Plaintiffs oppose this Motion. Federal Defendants do not oppose this Motion.



Respectfully Submitted April 30th, 2024.


                                             /s/ Hanna Larsen
                                             Hanna Larsen
                                             Stephen Bloch
                                             Laura Peterson

                                             Attorneys for Defendant-Intervenor
                                             Southern Utah Wilderness Alliance




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